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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          JAN 10 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                                                 Nos. 23-15049
THERESA SWEET; et al.,
                                                      23-15050
                                                      23-15051
                Plaintiffs-Appellees,

EVERGLADES COLLEGE, INC.,                        D.C. No. 3:19-cv-03674-WHA
                                                 Northern District of California,
                                                 San Francisco
                Intervenor-Appellant,
                                                 ORDER
 v.

MIGUEL A. CARDONA, Secretary of the
United States Department of Education; U.S.
DEPARTMENT OF EDUCATION,

             Defendants-Appellees,
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LINCOLN EDUCATIONAL SERVICES
CORPORATION; et al.,

                Intervenors.

Before: COLLINS, FORREST, and SUNG, Circuit Judges.

      Appellees are directed to file a response to the petition for rehearing en banc

filed on December 20, 2024. See Dkt. 94. The response shall not exceed 15 pages

or 4,200 words, and shall be filed within 21 days of the date of this order.
